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                                                                                                    Clerk
                                                                            St. Joseph County, Indiana




STATE OF INDIANA    )     IN THE ST. JOSEPH COUNTY SUPERIOR
                    ) SS: COURT MISHA�_2fil(.J�'f�00218
COUNT OF ST. JOSEPH)      CAUSE NO. ___________


MARLENE MALOTT McCASLIN
C/0 JAMES L. McCASLIN
228 W. HIGH STREET
ELKHART, INDIANA 46516
     Plaintiff,

V.

TARGET CORPORATION
Store Number 1445
155 University Drive East
Granger, Indiana 46530-4474

Resident Agent
CT Corporation System
334 N. Senate Avenue
Indianapolis, IN 46204


                                   COMPLAINT

       COMES NOW Marlene Malott Mccaslin, hereinafter referred to as

MALOTT, by counsel James L. Mccaslin of the law firm of McCASLIN &

McCASLIN and shows the Court as follows:

     1. That on or about June 30, 2018, she was shopping in Target, Store

       Number 1445, located on University Drive East in Granger, St. Joseph

       County, Indiana.

     2. She was in pushing a shopping cart in the Notre Dame Fan aisle when

       she stepped on a clear liquid that was part of a long thin line of liquid

       that had been allowed to accumulate and remain on the tile floor.
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   3. Her right foot slipped on the liquid, causing her right knee to hit the floor

      bearing her weight as her left leg hit the cart.

   4. As the result of her fall, Malott suffered damages when she sustained

      injuries to her back and leg, the extent of which damages and injuries

      are yet to be determined.

   5. The store employees, by the exercise of reasonable care would have

      discovered the liquid on the tile floor and should have realized that the

      condition involved an unreasonable risk of harm to a person shopping in

      the store.

   6. The store employees should expect that a shopper would not discover the

      line of clear liquid on the floor or realize its danger or threatened danger.

   7. The employees in control failed to exercise the reasonable care to protect

      the shopper, including Plaintiff herein, from danger and maintain the

      store in such a manner as to avoid injury to Malott.

      WHEREFORE, Malott prays she be awarded reasonable compensation in

amounts as yet undetermined for the personal injury and damages she

sustained when she slipped on the clear liquid allowed to be left on the tile

floor in Target, and all other relief just and proper in the premises.

                                             Respectfully submitted,

                                             /s/ James L. Mccaslin, #9433-20
                                             McCASLIN & McCASLIN
                                             228 W. High Street
                                             Elkhart, Indiana 46516
                                             (574)293-6033
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